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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                 v.                                  )        CR. NO. 2:21-CR-49-MHT-JTA-1
                                                     )
WILLIAM LEE HOLLADAY, III                            )

     MOTION IN LIMINE TO PROVISIONALLY ADMIT DOCUMENTS AND
  TESTIMONY TO BE PROVIDED BY E. SHANE BLACK, ESQ. AND MOTION FOR
                        EXPEDITED REVIEW

        Comes now the United States of America, by and through Verne H. Speirs, Attorney for

the United States acting under authority conferred by 28 U.S.C. § 515, and submits this motion

in limine. The government asks the Court to issue an order ruling that the following evidence is

provisionally admissible at the trial to be held in this matter: (1) testimony from E. Shane Black,

Esq. regarding, among other things, legal advice he gave to Defendant William Lee Holladay, III

(hereinafter, “Trey Holladay”); and (2) documents to be provided to the government by Black

pursuant to a trial subpoena, some of which may consist of written communications between

Black and Trey Holladay. 1 For the reasons stated below, the government also requests that the

Court rule on this motion expeditiously.

                                              I. BACKGROUND

        The following provides a short summary of the factual and procedural events relevant to

this motion.

A.      Indictment and Not Guilty Pleas

        On January 13, 2021, the grand jury returned a 127-count indictment against Defendants

Trey Holladay; Deborah Irby Holladay (hereinafter, “Deborah Holladay”); William Richard


        1
         Unless otherwise stated, the remainder of this motion refers to the testimony that Black will provide and
the documents he will produce as collectively, “the Black materials.”
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Carter, Jr.; Gregory Earl Corkren; David Webb Tutt; and Thomas Michael Sisk. Doc. 1. In

count one, the indictment charges all defendants with conspiring to commit mail and wire fraud,

in violation of 18 U.S.C. § 371. Id. at 16–61, ¶¶ 60–256. Counts 2 through 78 charge Trey

Holladay and Carter with substantive wire fraud offenses, each in violation of 18 U.S.C. § 1343.

Id. at 61–65, ¶¶ 257–61. Similarly, in counts 79 through 83, the indictment alleges wire fraud

offenses against Trey Holladay, Deborah Holladay, and Carter. Id. at 66–67, ¶ 262. Next, each

of counts 84 through 92 contains a wire fraud charge against either Trey Holladay, Deborah

Holladay, or Carter. Id. at 67–92, ¶ 263. Finally, counts 93 through 127 charge aggravated

identity theft, in violation of 18 U.S.C. § 1028A(a)(1). Id. at 72–76, ¶¶ 264–65. Specifically,

count 93 charges Trey Holladay, Carter, and Corkren and counts 94 through 127 allege offenses

against only Trey Holladay and Carter. Id.

        The indictment generally alleges a scheme whereby public school superintendents, Trey

Holladay (the superintendent of the Athens, Alabama City School District (ACS), see id. at 1, 3–

5, ¶ 1, 7–15) and Sisk (the superintendent of the Limestone County, Alabama School District

(LCS), see id. at 3, 5–6, ¶ 6, 16–18), caused identifying and educational information pertaining

to full-time private school students to be inputted into their respective districts’ student

enrollment databases so that the private school students appeared as public virtual school

students, see generally id. at 20–28, 43–44, ¶¶ 74–105, 171–75. 2 To obtain the student

information, the superintendents offered and caused to be offered various benefits to

administrators at various private schools, including: laptop computers, access to online courses,

increased internet capabilities, standardized testing, and monetary payments. Id. at 19, ¶ 70.


        2
          The indictment alleges that both ACS and LCS falsely reported private school students during the 2016–
2017 school year. Doc. 1 at 20–28, ¶¶ 74–105. For the 2017–2018 school year, the indictment alleges that ACS and
another school district, the Conecuh County School District (CCS) engaged in the false reporting of private school
students. Id. at 43–44, 39–49, ¶¶ 156–63, 171–75.

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         As a result of the false reporting of the private school students, when the Alabama State

Department of Education (ASDE) looked at those databases to determine what per pupil funding

the state owed the districts, the ASDE calculated amounts that were greater than the districts

would have been entitled to receive had their enrollment numbers been accurate. Id. at 29, 44–

45, ¶¶ 111–14, 176–80.

         The indictment goes on to allege that, after the state paid to ACS proceeds of the fraud,

Trey Holladay, Carter (the ACS administrator tasked with overseeing ACS’s virtual school, see

id. at 2, ¶ 3), and Deborah Holladay each received, for their own personal use, portions of those

proceeds. Id. at 33–35, 56–60, ¶¶ 131–44, 231–51. The defendants obtained these monies

through a series of transactions that involved: (1) payments from ACS to a company owned by

co-defendant Corkren; (2) cash payments by Corkren to Trey Holladay, Carter, and a company

owned by co-defendant Tutt; (3) payments by Tutt to a company owned by Deborah Holladay;

and (4) transfers made by Deborah Holladay from her company’s accounts to personal accounts

belonging to her and her husband, Trey Holladay. See id. 3

         On March 4, 2021, each defendant appeared before a magistrate judge and pleaded not

guilty to all counts. Doc. 80 (Trey Holladay); Doc. 81 (Deborah Holladay); Doc. 82 (Carter);

Doc. 83 (Corkren); Doc. 84 (Tutt); Doc. 85 (Sisk).

B.       Guilty Pleas of Co-Defendants

         Thereafter, on April 8, 2021, Defendants Corkren, Tutt, and Sisk changed their pleas.

Doc. 106 (Sisk); Doc. 110 (Corkren); Doc. 114 (Tutt). All three defendants pleaded guilty to the




         3
           Additionally, the indictment alleges that co-defendant Sisk received a cut of the proceeds after Corkren, at
the direction of Sisk, made a payment to a charity and the charity then transferred most of the money it had received
from Corkren to Sisk’s personal account. Doc. 1 at 35, ¶¶ 144–45.

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conspiracy offense alleged in count one. See id. Additionally, Corkren entered a guilty plea to

the count of aggravated identity theft charged in count 93. Doc. 110.

C.     Scheduling of Trial

       Meanwhile, Trey Holladay, Deborah Holladay, and Carter elected to proceed to trial. On

May 21, 2021, the Court scheduled the trial of the remaining defendants to begin on February 7,

2022. Doc. 133.

D.     Issuance of Subpoena to E. Shane Black

       On June 10, 2021, Special Agent Chris Maisano of the United States Department of

Education – Office of Inspector General electronically served a subpoena on E. Shane Black.

       As far as the government is aware, during all times relevant, Black was an attorney

retained by the Athens Board of Education (Athens BOE) and tasked with providing legal advice

and representation to the Board of Education and to ACS employees. Among those employees

was the superintendent, Trey Holladay.

       The subpoena required Black to appear to testify at the February 7, 2022 trial. See Att. 1

(Subpoena) at 1. The attachment to the subpoena also requested from Black certain documents.

Id. at 3. Specifically, the attachment stated:

       You must also bring with you the following documents, electronically stored
       information, or objects spanning from July 1, 2015-December 31, 2018:

       All documents of any sort in your possession pertaining to: (1) cooperation between
       Athens City Schools (ACS) (or any employee of ACS) and any non-public school;
       (2) enrollment in Athens Renaissance School; (3) efforts to establish Alabama
       Renaissance School; (4) communications with the Alabama State Department of
       Education (ASDE) regarding funding for ACS or enrollment in ACS; (5) funding
       for the construction of the new campus of Athens High School; (6) the purchase of
       computer equipment by ACS between 2015 and 2018; (7) Educational
       Opportunities and Management, LLC; (8) Tutt Educational Services, LLC;
       (9) Sage Professional Development, LLC; (10) Integra Ventures, LLC; (11) the
       establishment of an ACS facility in Marengo County, Alabama; (12) Marengo
       Academy; (13) Jackson Academy; (14) Pickens Academy; (15) the Lakeside

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        School; (16) Southern Academy; (17) Monroe Academy; (18) Conecuh County,
        Alabama School District; (19) Meadowview Christian School; (20) Abbeville
        Christian Academy; and (21) Marion Academy.

Id. at 3.

        The government anticipates that at least a portion of the Black materials pertain to or

consist of otherwise-privileged communications between Black and ACS employees or board

members whom he represented. See Doc. 159 at 1, ¶ 2. Some of those privileged

communications are between Black and Trey Holladay.

E.      Notification and Trey Holladay’s Assertion of Privilege

        On July 12, 2021, the government electronically sent a letter to the attorneys for Trey

Holladay, Deborah Holladay, and Carter. See Att. 2 (July 12, 2021 Letter). In that letter, the

government advised the attorneys of the issuance of the subpoena to Black. Id.

        On July 15, 2021, the attorney for Trey Holladay sent, via electronic mail, a letter to

Black. See Att. 3 (July 15, 2021 Letter). The attorney copied the government and a different

attorney for ACS and the Athens BOE, David McKnight. The letter stated, “We have been

informed by the Government that you have been subpoenaed. This letter is to inform you that at

this time, Dr. Holladay does not waive his attorney-client privilege concerning his

communications and dealings with you.” Id.

F.      ACS’s Motion for Protective Order

        On September 9, 2021, the government and the Athens BOE filed a joint motion for a

protective order pursuant to Rule 502(d) of the Federal Rules of Evidence. Doc. 159. In that

motion, the parties informed the Court of the existence of the subpoena and the Athens BOE

stated that it wished “to cooperate with the Government’s subpoena request.” Id. at 1, ¶¶ 1, 4.

The motion requested that the Court enter a protective order authorizing Black to comply with



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the subpoena without Athens BOE being deemed to have waived its privilege in any other

matter. Id. at 2, ¶¶ 7–8. In the motion, the parties stated that “the Board is sole and exclusive

holder of the privilege with respect to the Privileged Information, and as such, the Board may

authorize the disclosure of the Privileged Information, and Black may disclose it, to the extent

and in the manner [requested by the parties].” Id. at 2, ¶ 6.

       Attached to the motion was an affidavit signed by the president of the Athens BOE,

Beverly Malone. See Doc. 159-2. In that affidavit, Malone stated that she was authorized by the

board to “authorize the disclosure of the privileged material.” Id. at 2.

       The Court did not seek a response from the defendants and no defendant filed a response

to the joint motion.

       On September 13, 2021, the Court granted the joint motion and entered the proposed

protective order. Doc. 160. The order contained the above-quoted language regarding the

Athens BOE being the “sole and exclusive holder of the privilege.” Id. at 2, ¶ 2. The order went

on to: (1) require Black to produce “Privileged Documents to the Government”; and (2) provide

“the Privileged Testimony in this federal case.” Id. at 2, ¶ 3. Additionally, the order authorized

Black to produce to the government the privileged materials and to discuss with government

agents privileged communications “prior to the trial of this case.” Id.

       On September 15, 2021, government attorneys spoke with an attorney representing Trey

Holladay. That attorney stated that, at this time, Trey Holladay does not intend to seek

reconsideration of the magistrate judge’s September 13, 2021 protective order and that Trey

Holladay persists in his assertion of an attorney-client privilege protecting his communications

with Black.




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                                II. THE RELIEF REQUESTED

       Absent a valid waiver, testimony or documents containing the contents of

communications protected by attorney-client privilege are inadmissible. See LeCroy v. Sec’y,

Fla. Dep’t of Corr., 421 F.3d 1237, 1265 (11th Cir. 2005) (identifying the “clear inadmissibility”

of a letter from a client to his attorney); see also United States v. Rodriguez-Martin, No. CR 08-

70-E, 2009 WL 10708285, *5 (N.D. Ala. Feb. 4. 2009) (“A letter from an attorney to his or her

client is generally privileged and inadmissible.”); Saridakis v. S. Broward Hosp. Dist., No. 08-

62005-CIV-ALTONAGA/Brown, 2010 WL 11504762, *2 (S.D. Fla. Jan. 15, 2010) (“Any

evidence regarding attorney-client privileged communications is inadmissible, as no waiver has

been demonstrated to have taken place.”); cf. United States v. Zolin, 491 U.S. 554, 566–67, 109

S. Ct. 1619, 2628 (1989) (a district court may conduct an in camera review of materials subject

to a claim of privilege to determine whether those materials are subject to the crime-fraud

exception and therefore not inadmissible).

       Accordingly, for the government to introduce in its case-in-chief the Black materials,

such evidence must: (1) not be presently subject to any non-waived privilege; and (2) otherwise

admissible under the Federal Rules of Evidence, see, e.g., Fed. R. Evid. 401–402 (relevance);

Fed. R. Evid. 801–804 (hearsay).

       The government asks the Court to rule on the threshold privilege issue and enter an order

holding that the evidence at issue is provisionally admissible, provided its admission is not

prohibited by a provision of the Federal Rules of Evidence not associated with privileges.

Because the government has not yet received the documents or had its agents interview Black, it

is not yet able to provide a summary of the materials such that the Court is able to rule on other




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admissibility issues associated with the Black materials. 4 Nevertheless, a ruling as to whether or

not Trey Holladay has any privilege to assert will permit the government to obtain the requested

information and then return to the Court and ask the Court to rule on any additional issues that

might arise from the government’s seeking to admit such evidence. 5

                                                  III. WAIVER

         As explained below, the Athens BOE waived an attorney-client privilege between its

employees and Black. Trey Holladay, an employee of the Athens BOE, has no privilege to claim

after the board’s action.

A.       Legal Principles

         “Questions of attorney-client privilege . . . are governed by federal common law.” In re

Grand Jury Proceedings 88-9 (MIA), 899 F.2d 1039, 1044 (11th Cir. 1990); see Hancock v.

Hobbs, 967 F.2d 462, 466 (11th Cir. 1992); Fed. R. Evid. 501. “The party invoking the attorney-

client privilege has the burden of proving that an attorney-client relationship existed and that the

particular communications were confidential.” United States v. Schaltenbrand, 930 F.2d 1554,

1562 (11th Cir. 1991). 6



         4
           The government is reluctant to obtain such documents or have its agents speak with Black until the Court
resolves the privilege issue. As stated below, the government does not believe that Trey Holladay has any privilege
to assert. Nevertheless, should the Court decide the issue differently, the government does not want to have
breached the privilege by the time the Court rules on the issue.
          Additionally, the Court has already determined that the Athens BOE is the sole holder of the privilege and
that the board has validly waived such privilege. See Doc. 160 at 2, ¶ 2. It is arguable that Trey Holladay’s failure
to seek reconsideration of the magistrate judge’s order is an implicit abandonment of his earlier assertion of
privilege. Nevertheless, in an abundance of caution, the government seeks this order in limine.
         5
          Defendants Deborah Holladay and Carter were, at relevant times, ACS employees. However, despite
receiving ample notice of the government’s subpoena, neither has asserted any privilege. Accordingly, the
following addresses only Trey Holladay’s claim of privilege.
         6
          It is unlikely all of the materials requested by the subpoena fall under the attorney-client or a related
attorney-work-product privilege. “In order to show that communications made to an attorney are within the
privilege, it must be shown that the communication was made to him confidentially, in his professional capacity, for
the purpose of securing legal advice or assistance.” Schaltenbrand, 930 F.2d at 1562 (quotation marks omitted). As
for the work-product doctrine, “to be shielded from discovery the document must be (1) produced by an attorney or

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         The Supreme Court has long recognized that corporate entities are eligible to assert

attorney-client privilege. See Upjohn Co. v. United States, 449 U.S. 383, 389–90, 101 S. Ct.

677, 682–83 (1981) (describing the history of the attorney-client privilege and the

“complications in the application of the privilege [that] arise when the client is a corporation,

which in theory is an artificial creature of the law, and not an individual”) (citing United States v.

Louisville & Nashville R. Co., 236 U.S. 318, 336, 35 S. Ct. 363, 369 (1915)); see also United

States v. Davita, Inc., 301 F.R.D. 676, 681 (N.D. Ga. 2014) (“It has long been determined that

corporations are entitled to invoke the attorney-client privilege.”). In Upjohn Co. v. United

States, the Court held as privileged communications made by a corporation’s employees “to

counsel for [the company] acting as such, at the direction of corporate superiors in order to

secure legal advice from counsel.” 449 U.S. at 394, 101 S. Ct. at 685. 7



her agent and (2) created in anticipation of litigation.” Adams v. City of Montgomery, 282 F.R.D. 627, 633 (M.D.
Ala. 2012).
         Given that the government is unaware of the nature or contents of the Black materials, it is unable to make
arguments about whether such materials satisfy either of the above-described privileges. Were the Court to
determine that Trey Holladay holds some privilege with respect to his communications with Black, the government
would request that the Court inspect the materials in camera to determine whether, as it pertains to each statement or
document, the elements of a privilege are met.
         The duration of this motion assumes, for argument’s sake, that the entirety of the Black materials are
privileged and then argues that the Athens BOE has validly waived the privilege.
         7
           The following discusses cases that deal with the attorney-client privilege of a corporation. The Athens
BOE is a public entity—not a corporation. Nevertheless, as discussed below, the Court should apply the
corporation-privilege cases here.
          There is divergent authority as to whether a public entity may assert attorney-client privilege in the context
of a criminal case. Compare In re Witness Before Special Grand Jury 2000-2, 288 F.3d 289, 293–94 (7th Cir. 2002)
(in the context of a grand jury investigation, declining to recognize privilege to communications between a state’s
secretary of state and an attorney for the secretary of state’s office in part because “[a] state agency . . . cannot be
held criminally liable by either the state itself or the federal government” and therefore, there is “no need to offer
attorney-client privilege as an incentive to increase compliance with the laws”), with In re Grand Jury Investigation,
399 F.3d 527, 534–35 (2d Cir. 2005) (holding that a state governor’s office could assert attorney-client privilege to
prevent a governor’s office attorney from testifying before a grand jury because, among other reasons, “[i]t is crucial
that government officials, who are expected to uphold and execute law and who may face criminal prosecution for
failing to do so, be encouraged to seek out and receive fully informed legal advice”).
          Although no court appears to have discussed whether a local board of education is entitled to attorney-
client privilege when it communicates with a board attorney, several courts have treated those communications as
privileged. See Smith v. Bd. of Educ. Of City of Chi., No. 17 C 7034, 2019 WL 2525890, *2 (N.D. Ill. June 19,
2019); Case v. Unified Sch. Dist. #233, Johnson Cnty., Kan., No. 94-2100-GTV, 1995 WL 358198, *4–8 (D. Kan.
June 2, 1995).

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         “[F]or solvent corporations, the power to waive the corporate attorney-client privilege

rests with the corporation’s management and is normally exercised by its officers and directors.”

Commodity Futures Trading Comm’n v. Weintraub, 471 U.S. 343, 348, 105 S. Ct. 1986, 1991

(1985). A waiver of attorney-client privilege may be express or implied. A client makes an

implied waiver when the client takes actions that are inconsistent with the preservation of the

privilege. See In re Columbia/HCA Healthcare Corp. Billing Practices Litigation, 293 F.3d 289,

294–95 (6th Cir. 2002); see also United States v. Sanmina Corp., 968 F.3d 1107, 1124 (9th Cir.

2020) (“Thus, the focal point of our inquiry is whether, under the totality of the circumstances,

Sanmina acted in such a way that is inconsistent with the maintenance of secrecy against its

adversary in regard to the Attorney Memos.”).

B.       The Bevill Test

         In In re Grand Jury Investigation No. 83-30557, a judge of the United States District

Court for the Northern District of Georgia noted that “if the corporation waives the privilege, the

question arises as to whether the individual agents, officers, or employees of the corporation may

be permitted to assert the privilege to prevent the disclosure of information conveyed by them to

the corporation’s in-house or retained attorney.” In re Grand Jury Investigation No. 83-30557,

575 F. Supp. 777, 778–79 (N.D. Ga. 1983).

         After surveying relevant cases on the issue, the court held that “in order to assert the

attorney-client privilege,” former employees of a corporation that elected to waive privilege

“with respect to . . . matters which [a] grand jury [was] investigating,” id. at 778, the former


          The Eleventh Circuit does not appear to have addressed whether and to what extent a school board, or any
public entity, may assert, in the context of a criminal investigation or prosecution, attorney-client privilege. The
Court need not do so here. Instead, the Court should assume, without deciding, that a privilege exists, and then hold
that the privilege may be waived by the Athens BOE. In assessing the extent of the privilege, the corporation-
privilege cases should be controlling. See In re Grand Jury Investigation, 399 F.3d at 535 (applying Upjohn to
determine the scope of the privilege).


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employees had to “satisfy five requirements,” id. at 780. Namely, the former employees had to

show: (1) “they approached [the corporate attorney] for the purpose of seeking legal advice”;

(2) “when they approached [the corporate attorney] they made it clear that they were seeking

legal advice in their individual, rather than representative, capacities”; (3) “[the corporate

attorney] saw fit to communicate with them in their individual capacities, knowing that a

possible conflict could arise”; (4) “their conversations with [the corporate attorney] were

confidential”; and (5) “the substance of their conversations with [the corporate attorney] did not

concern matters related either to their official duties within the company or the general affairs of

the company.” Id. at 780.

       Thereafter, in Matter of Bevill, Bresler & Schulman Asset Management Corporation, 805

F.2d 120 (3d Cir. 1986), the Third Circuit affirmed a lower court’s use of the test first articulated

by the Georgia district court. Id. at 123, 125 (“A corporate official . . . may not prevent a

corporation from waiving its privilege arising from discussions with corporate counsel about

corporate matters.”). Following that case, the five-part test came to be known as “the Bevill test”

and the First, Second, Ninth, and Tenth Circuits adopted it. See United States v. Graf, 610 F.3d

1148, 1159–60 (9th Cir. 2010); In re Grand Jury Subpoena, 274 F.3d 563, 571 (1st Cir. 2001); In

re Grand Jury Subpoenas, 144 F.3d 653, 659 (10th Cir. 1998); United States v. Int’l Brotherhood

of Teamsters, Chauffeurs, Warehousemen & Helpers of Am., 119 F.3d 210, 215 (2d Cir. 1997).

Additionally, the Sixth Circuit cited Bevill with approval and indicated that it requires, at

minimum, that the second prong be met for an employee to invoke privilege over a corporate

waiver. See Ross v. City of Memphis, 423 F.3d 596, 605 (6th Cir. 2005).

       While the Eleventh Circuit has not yet addressed the issue of when an individual

employee may invoke privilege after a corporation has waived its privilege, district courts within



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the circuit have applied the Bevill test. In re Grand Jury Subpoena 2009R00030 Served on Jan.

19, 2012, No. 1:13-cr-12(WLS), 2013 WL 3990655, *2–3 (M.D. Ga. June 2, 2013); United

States v. Maxwell, No. 05-20571-CR-SEITZ/MCALILEY, 2006 WL 8439795, *7 (S.D. Fla.

Oct. 4, 2006).

       In the absence of guidance from the Eleventh Circuit, this Court should do likewise and

apply the Bevill test here. As a district court observed, the test “is sound because it divides the

officer’s corporate and individual selves and ensures that the officer’s personal interests do not

hamstring the corporation’s control of its privileges.” In re Grand Jury Subpoena, 2013 WL

3990655, at *3.

       Moreover, application of the Bevill test makes sense in the context of communications

between governmental entity attorneys and employees. Often, in the context of governmental

entities, changes in leadership are accompanied by changes in policy, goals, and personnel. To

permit a former leader of a governmental entity to, after he or she leaves office, control the

office’s privilege could have the effect of preventing the new leadership from implementing its

policy goals. And, given the frequency with which control of public entities shifts from one

group to another, employees and leaders of public entities must recognize the non-absolute

nature of the confidentiality of their communications with the entities’ attorneys. As the Second

Circuit observed when it recognized that privilege covered communications between a governor

and a governor’s office attorney, “in the government context, the individual consulting with his

official attorney may not control the waiver of the privilege” and “[e]ven if he does control the

waiver during his time in government, the possibility remains that a subsequent administration

might purport to waive the privilege exercised by a predecessor.” In re Grand Jury Investigation,

399 F.3d at 534–35.



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C.     The Athens BOE’s Waiver of Privilege

       Before turning to the legal analysis, it is important to review the relationship that existed

among Trey Holladay, Black, and the Athens BOE. The Athens BOE is the entity tasked with

overseeing and administering ACS. See Ala. Code § 16-11-9 (“The city board of education is

hereby vested with all the powers necessary or proper for the administration and management of

the free public schools within such city and adjacent territory to the city which has been annexed

as a part of the school district which includes a city having a city board of education.”). Trey

Holladay, the former superintendent of ACS, was an employee of the Athens BOE. See Ala

Code § 16-12-1(a) (“The city board of education shall appoint a city superintendent of schools to

hold office at the pleasure of the board. The city superintendent of schools shall receive such

compensation as the city board of education shall direct. The city board of education may

remove the city superintendent of schools for incompetency, immorality, misconduct in office,

willful neglect of duty, or when, in the opinion of the board, the best interests of the schools

require such action.”); Ala. Code § 16-12-3(d) (“The city board of education shall appoint as its

executive officer a superintendent of schools, who may also be secretary of the board of

education.”). ACS retained Black for the purpose of providing legal advice to the Athens BOE

and ACS employees. See Athens Bd. of Educ. Policy BBE (May 18, 2016), available at

https://www.acs-

k12.org/site/handlers/filedownload.ashx?moduleinstanceid=5606&dataid=2551&FileName=BB

E-School_Board_Attorney.pdf (last visited Sept. 20, 2021).

       In light of these facts, the Athens BOE is the holder of the privilege. See Weintraub, 471

U.S. at 348, 105 S. Ct. at 1991. And, the board, for the limited purpose of this case, has waived

the privilege. The board’s filing of the joint motion and stating its intent to permit Black to



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cooperate with the subpoena could be viewed as an express waiver of its attorney-client

privilege. Alternatively, the Court could find that the Athens BOE’s actions were inconsistent

with the maintenance of secrecy and thus constituted an implied waiver of the privilege. See

Sanmina Corp., 968 F.3d 1107, 1124. Either way, pursuant to the protective order, see Doc. 160,

for the limited purpose of this case, the privilege is waived. As such, the government may

receive and review the documents responsive to the subpoena and its agents may speak with

Black about privileged communications.

       This is true, notwithstanding Trey Holladay’s assertion of privilege. To determine

whether Trey Holladay maintains any privilege after the Athens BOE’s waiver, the Court should

apply the Bevill test. Applying those factors, so far as the government knows, Trey Holladay

cannot meet his burden of showing that communications between him and Black are privileged,

notwithstanding a waiver by the Athens BOE. 805 F.2d at 123.

       Specifically, the second, third, and fifth factors are lacking. See id. The government has

no information suggesting that Trey Holladay ever approached Black seeking legal advice in his

personal capacity—as opposed to his capacity as the superintendent of ACS. Moreover, the

government does not have any information suggesting that Black saw fit to deal with Trey

Holladay as an individual, notwithstanding the potential conflict of interests that might ensue

from his doing so.

       Finally, even if Trey Holladay could present evidence sufficient to satisfy the second and

third factors, it seems improbable that he could satisfy the fifth prong. See id. The subpoena

seeks only documents that pertain to the virtual education fraud scheme Trey Holladay

implemented in his capacity as the superintendent. Likewise, at trial, the government will only

question Black about such matters. Those matters all pertain to “matters related either to [Trey



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Holladay’s] official duties within the [school district] or the general affairs of the [school

district].” See id.

                               IV. THE CRIME-FRAUD EXCEPTION

        Although the government believes that the Court should resolve the issue on the waiver

argument, even if Trey Holladay could satisfy the requirements of the Bevill test, the Black

materials would still not be subject to attorney-client privilege. This is because the crime-fraud

exception would apply and render them non-privileged. 8

A.      Crime-Fraud Exception Principles

        “[T]he attorney-client privilege does not protect communications made in furtherance of

a crime or fraud.” In re Grand Jury Subpoena, 2 F.4th 1339, 1345 (11th Cir. 2021) (quotation

marks omitted). To determine “whether the crime-fraud exception applies to an otherwise

privileged communication,” the Eleventh Circuit applies a two-part test. Id.

        First, there must be a prima facie showing that the client was engaged in criminal
        or fraudulent conduct when he sought the advice of counsel, or that he committed
        a crime or fraud subsequent to receiving the benefit of counsel’s advice. Second,
        there must be a showing that the attorney’s assistance was obtained in furtherance
        of the criminal or fraudulent activity or was closely related to it.

Id.

        On the first prong, “the government’s burden is satisfied by a showing of evidence that, if

believed by a trier of fact, would establish the elements of some violation that was ongoing or

about to be committed.” Id. (quotation marks omitted). To meet this burden, the government

must provide, at minimum, “a good faith statement as to what evidence is before the grand jury.”

Id. (quotation marks and alterations omitted).




        8
         The government asks that, if the Court finds the waiver argument compelling, that the Court resolve the
matter on the basis of that argument and avoid the crime-fraud exception issue.

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       As for the second prong, the Eleventh Circuit has not “delineate[d] the precise contours

of the test.” Id. Historically, the Court has held that “the requirement that legal advice must be

related to the client’s criminal or fraudulent conduct should not be interpreted restrictively.” In

re Grand Jury Investigation, 842 F.2d 1223, 1227 (11th Cir. 1987). Recently, the Court left open

the possibility that it might hold that “the second prong of the exception covers only

communications which advance, or which the client intends to advance, the client’s criminal or

fraudulent purpose.” Subpoena, 2 F.4th at 1350 (quotation marks and alterations omitted).

       If a party seeking application of the exception cannot meet both prongs, the Court may

conduct an in camera review to determine whether the exception applies. Cox v. Administrator

U.S. Steel & Carnegie, 17 F.3d 1386, 1417 (11th Cir. 1994). To obtain in camera review, the

government need only “present evidence sufficient to support a reasonable belief that in camera

review may yield evidence that establishes the exception’s applicability.” Zolin, 491 U.S. at

574–75, 109 S. Ct. at 2632.

B.     Evidentiary Proffer

       Before addressing the application of the prongs, the government makes a proffer of

evidence. First, the government incorporates by reference the allegations contained in the

indictment. Second, the information obtained by the government shows the following:

       •   On March 2, 2016, Black attended a meeting with Trey Holladay at the office of the

           state superintendent of education. By this point, ACS had enrolled and counted in its

           enrollment reports for fiscal year (FY) 2016 students from Marengo Academy in

           Linden, Alabama. The ASDE had learned about this and called a meeting. At the

           meeting, according to an ASDE official who attended the meeting, Trey Holladay

           acknowledged his understanding that the ASDE did not approve of enrolling in public



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     virtual schools students who were otherwise full-time private school students, and

     Trey Holladay agreed to discontinue the practice. See Doc. 1 at 15, ¶ 58.

 •   On March 7, 2016, Black sent an electronic mail message to the ASDE official. In

     that message, Black, acting on behalf of ACS, acknowledged ACS’s commitment to

     “pull back” and, going forward, require proof from all incoming virtual students that

     the students had un-enrolled in a previous private school. See id. at 16, ¶ 59; Att. 4

     (Mar. 7, 2016 Email from Black to Craig).

 •   As described in detail in the indictment, following March 7, 2016, ACS did not in fact

     stop associating with private schools and enrolling private school students. Instead,

     ACS expanded the program in the 2016-2017 school year to include 5 schools and

     almost 1,000 students.

 •   On August 17, 2017, the state superintendent of education (a new superintendent

     since the March 2016 meeting) sent Trey Holladay a letter informing him that the

     ASDE had learned about the enrollment of private school students and was, as a

     result, reviewing ACS’s enrollment figures. See Att. 5 (Aug. 17, 2017 Memo from

     Sentance to Trey Holladay). This letter triggered a series of exchanges between ACS

     and ASDE officials.

 •   That day, Trey Holladay responded with an electronic mail message to the

     superintendent, copying Black. In that message, Trey Holladay wrote, “It is

     extremely frustrating to have started school and be hit with something that happened

     the previous school year. We have done everything the law requires, the ALSDE has

     asked and directed, and our board policy governs. We passed our virtual school audit

     this past spring and invited the department back to review records when questions


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     were asked in early summer. We have now been taken to task three years in a row.

     We are more than willing to correct or explain any identifiable problems, but totally

     object to doing everything asked and then being penalized.” See Att. 6 (Aug. 17,

     2017 Email from Trey Holladay to Sentance) at 2–3.

 •   On Monday, September 18, 2017, Black sent an electronic mail message to the

     general counsel for the ASDE. In it, he wrote,

            Juliana,

            Good afternoon!

            Please see the attached information sheet concerning the
            items we discussed on Friday. Please call me with any
            questions.

     See Att. 7 (Sept. 18, 2017 Email from Black to Dean and Attachment) at 1. Attached

     to the message appeared to be a “timeline” of ACS’s virtual education program

     development. Id. at 2–4. Although Black sent the document to the general counsel

     on this date, it is unclear that he prepared it. In any event, the timeline stated, among

     other things: (1) that there were students included in ACS’s enrollment report for FY

     2017 who attended Lakeside School and Marengo Academy (the two private schools

     that the ASDE had already identified as providing student information to ACS), id. at

     3–4; (2) that the private schools allowed students to work on ACS classes each day

     and that all students were taking at least 5 classes through ACS’s virtual school, id.;

     (3) that ACS had no direct relationship with either school, id.; and (4) that ACS paid a

     vendor (presumably Ed Op) to ensure that the students had effective internet

     connections, id. The timeline then argued that nothing about ACS’s inclusion of

     these private school students violated any law, as there was nothing in state law that



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     precluded public school students from engaging in outside activities, “(whether

     enrolled at a private academy, Sunday school, or private swimming lessons).” Id. at

     4.

 •   According to an ASDE official, at some point during this period, Trey Holladay met

     with the general counsel for the ASDE and other ASDE officials. The ASDE official

     stated that an attorney for either Trey Holladay or ACS also attended the meeting. At

     this time, as far as the government is aware, Black was the attorney for the Athens

     BOE. During the meeting, Trey Holladay stated that the private school students from

     Marengo Academy and Lakeside School were the only private school students

     included in ACS’s enrollment figures. Trey Holladay defended the enrollment of

     these students, arguing that there was no definition of “full-time virtual student” to be

     found in state law or regulations.

 •   On April 30, 2018, Trey Holladay sent a memo to Richardson, the interim state

     superintendent. See Att. 8 (Apr. 30, 2018 Memo from Trey Holladay to Richardson).

     It is not clear that Shane Black drafted this memo. However, the memo contained

     legal arguments and appeared as though it was drafted by an attorney. See id. at 5–6.

     As far as the government is aware, Black was the Athens BOE’s attorney. In the

     memo, Trey Holladay made false claims. For example, Trey Holladay wrote, that

     during the 2016-2017 school year, ACS

            did not try to police or monitor students’ activities with
            respect to any relationship or non-relationship with a non-
            public school. However, ACS also began to take steps to
            wind down any enrollments that were also associated with
            nonpublic schools, for example, by amending one of its local
            policies during the 2016-17 school year to remove the
            reference to nonpublic schools.


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     Id. at 3. Trey Holladay closed the letter, writing,

             if ALSDE withholds the $2 million in Foundation Program
             funding for the 2016-17 enrollments, then it will be doing so
             retroactively or ex post facto—applying today’s new
             interpretation to counteract yesterday’s interpretation.
             However, we have already expended funds to provide full-
             time education services to these 2016-17 students—and we
             cannot retroactively reverse those expenses or those
             services.

     Id. at 6.

 •   On May 17, 2018, Carter electronically transmitted to Corkren a “revised termination

     agreement” between ACS and Corkren’s company, Educational Opportunities and

     Management, LLC (Ed Op). See Att. 9 (May 17, 2018 Email from Carter to

     Corkren). In the revised agreement, ACS agreed to pay Ed Op: (1) $81,300 upon

     execution of the agreement by Corkren; and (2) $220,800 upon Ed Op’s performance

     of all obligations. See Att. 10 (Revised Termination Agreement). Notably, a

     significant portion of this money was to be paid so that Corkren could fulfill his

     obligations to pay private schools and private school employees (and to give cash to

     Trey Holladay, as, according to Corkren, around this time, he gave Trey Holladay

     $20,000 in cash). When Carter sent the message to Corkren, he was forwarding an

     electronic mail message sent to him by Trey Holladay attached to which was the draft

     agreement. See Att. 9. And, when Trey Holladay sent the electronic mail message to

     Carter, he was forwarding a message sent to him by Black containing the draft

     agreement. See id. Therefore, the email sequence at least suggests that the

     agreement originated with Black.




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       •   Contrary to the communications described above, during this period, ACS had

           included in its enrollment information students who were, in reality, full-time private

           school students who were not being educated by ACS. See Doc. 1 at 29, ¶ 113

C.     The First Prong
       The allegations in the indictment, along with the above-described information, establish a

prima facie showing that, during the time at issue, Trey Holladay and others participated in a

conspiracy to commit mail and wire fraud. See 18 U.S.C. §§ 371, 1341, 1343. Additionally, the

government’s evidence indicates that Trey Holladay committed substantive acts of wire fraud,

see 18 U.S.C. § 1343, as well as aggravated identity theft, see 18 U.S.C. § 1028A.

       In short, the government’s allegations show that: (1) Trey Holladay and others were

falsely including in ACS’s enrollment figures students who were in reality full-time private

school students who were not being educated by ACS; (2) based on the false inclusion of these

students, the ASDE was paying more money to the district than it otherwise would; (3) Trey

Holladay and others were diverting some of this funding for their own personal use; (4) the

defendants were using wire communications in interstate commerce and the United States mail

to carry out the scheme; and (5) in furtherance of the scheme, the defendants used, without

authorization, identifying information of real individuals.

       Importantly, the allegations show that Trey Holladay participated in this scheme during

the same period that he sought Black’s counsel. These allegations are, therefore, sufficient to

meet the “low hurdle” that exists on the first prong. See Subpoena, 2 F.4th at 1345.

D.     The Second Prong

       On the second prong, the above-recounted facts make clear that, at minimum, Trey

Holladay’s receipt of legal advice from Black was closely related to the fraudulent activity.



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Alternatively, even under a more stringent standard, the government is able to meet its burden on

this prong. 9

        In assessing the second prong, the facts of the Eleventh Circuit’s recent decision in In re

Grand Jury Subpoena are helpful. In that case, the government was investigating whether a

candidate for public office committed wire fraud when the candidate: (1) solicited money from

donors “for the specific purpose of furthering the candidate’s chances of being elected”; and

(2) then used some of the money raised to pay personal expenses. Id. at 1342. During its

investigation, the government learned, through a voluntary interview with the attorney for the

campaign, that the attorney: (1) “provided legal advice to the Campaign, including by advising

the candidate on completing and filing the financial disclosure forms”; (2) “reviewed the account

statements for the Campaign’s bank accounts”; (3) “created draft campaign disclosure forms”;

(4) “reviewed and revised draft campaign disclosure forms created by other Campaign staff

members, and provided those draft forms for review and finalization by the candidate”;

(5) “file[d] the forms with the relevant state and local governmental entities” and (6) “during his

review of the bank accounts, . . . observed several expenditures that appeared to be personal in

nature.” Id. After learning this information, the government served on the attorney a grand jury

subpoena for testimony. Id. at 1343–42. The attorney then advised the government of his intent

to invoke attorney-client privilege and the government moved to compel the testimony. Id. at

1343. In turn, the attorney moved to quash the subpoena. Id. Following a hearing, the district

court denied the motion to quash and ordered the attorney to testify regarding certain matters




        9
         The government does not suggest that Black was complicit in the scheme or that he had personal
knowledge of the fraudulent conduct. If the crime-fraud exception applies, the government argues only that Trey
Holladay solicited legal advice and assistance in furtherance of the fraudulent conduct. The government does not
contend that Black gave legal advice and assistance in furtherance of the scheme.

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that, the district court found, were excluded from attorney-client privilege by the crime-fraud

exception. Id. at 1344. The attorney appealed and the Eleventh Circuit affirmed. Id.

        In doing so, the Court held, in part, that the government’s motion to compel contained

facts sufficient to meet its burden on the second prong—regardless of whether that prong is

applied in a more or less exacting manner. Id. at 1350. In doing so, the Court stressed that the

attorney, by his own admission, revised the financial disclosure forms “after becoming aware of

the personal expenditures and before the forms were officially filed.” Id. at 1351. The Court

reiterated,

        After making the personal expenditures at issue, but before filing his financial
        disclosure forms, the candidate sought or obtained legal advice from the attorney
        regarding his obligations under Georgia law. We find it significant that, at this
        time, the personal expenditures had already been made—and that the subsequently
        filed disclosure forms either distorted the nature of the expenditures or failed to list
        them altogether. Any legal assistance the candidate received in regards to the
        expenditures he did not intend to report is related to his fraud. Likewise any
        assistance the candidate received in filing the disclosure forms in which he did not
        report those expenditures is related to his fraud.

Id. (quotation marks and alterations omitted). Based on these facts, the Court found “a sufficient

nexus between the alleged ‘criminal or fraudulent activity’ and the communications at issue to

pierce the attorney-client privilege.” Id.

        There are strong similarities between that case and the facts here. Just as the attorney in

that case was aware of the personal expenditures, here, Black was undoubtedly aware, by no later

than March of 2016, that ACS had at least attempted to enroll private school students. See id.

Additionally, the above-recounted facts strongly suggest that after October 12, 2016 (the first

date, according to the indictment, that the defendants caused data containing private school

students to be transmitted from ACS to the ASDE for funding calculation purposes, see Doc. 1 at




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29, ¶ 113), but before the ASDE made its final decision on whether or not to withhold funding

from ACS, Trey Holladay sought the advice and assistance of Black.

        Although the government is not, at this time, aware of specific conversations that

occurred between Black and Trey Holladay during the relevant period, one can draw an

inference that such conversations occurred and that, during those conversations, Black gave Trey

Holladay legal advice regarding how ACS could avoid the recoupment of funds. This inference

arises from the following facts: (1) Black’s contacting the ASDE attorney and providing

information regarding ACS’s enrollment of private school students; (2) Black’s accompanying

Trey Holladay to at least one meeting at the ASDE office; and (3) Black’s receiving copies of

communications between ACS officials and ASDE officials relevant to the matter. Given all of

this, it strains credulity to think that Trey Holladay and Black did not discuss how, within the

framework of Alabama school funding statutes and regulations, ACS could obtain full funding

for the private school students. Moreover, the Eleventh Circuit has long recognized that the

government can satisfy its burden on the second prong even though it lacks knowledge of the

precise nature of the communications. See In re Grand Jury Investigation, 842 F.2d at 1227

(“Furthermore, the determination whether the requested material is sufficiently related to the

investigation must take into account that the government does not know precisely what the

material will reveal or how useful it will be.”).

        Alternatively, the fact that the May 17, 2018 agreement originated with Black and that

the agreement was in furtherance of the scheme to pay money to Trey Holladay, indicates Trey

Holladay requested that Black draft the agreement to “advance[] . . . the client’s criminal or

fraudulent conduct.” Subpoena, 2 F.4th at 1351 (quotation marks and alterations omitted). 10


        10
          The government recognizes that the crime-fraud exception would not cover all conversations between
Black and Trey Holladay during the relevant period. Certainly, the two had many conversations which, if the Court

                                                       24
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E.      Request for In Camera Review

        Alternatively, the government’s information establishes a reasonable belief that the

government can meet the elements of the crime-fraud exception. Accordingly, if the Court does

not find the elements of the crime-fraud exception met, then the government asks the Court to

conduct an in camera review of the documents and the information that Black would provide.

See Cox, 17 F.3d at 1417.

                             V. REQUEST FOR EXPEDITED RULING

        This case is complex. The government anticipates that it will call well over 100

witnesses and that the trial will take several weeks. Should Black testify, he will, in all

likelihood, be a very significant witness. As such, the trial strategy of each party will vary

depending on whether the government is able to offer the Black materials. Given the complexity

of the case, the amount of preparation required, and the importance of the Black materials, all

parties will benefit from knowing as far in advance as possible whether the government will

obtain and seek to admit the Black materials. Accordingly, the government asks that the Court

rule on this motion as quickly as possible.

                                             VI. CONCLUSION

        Based on the foregoing, the government asks that the Court enter an order provisionally

admitting the Black materials. The government further requests that the Court consider this

motion as soon as possible.




does not uphold the school board’s waiver, might remain privileged. The government asks that the Court hold that
only testimony related to the types of records requested in the subpoena attachment is covered by the crime-fraud
exception.

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 Respectfully submitted this 21st day of September 2021.

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                                            CONFERRED BY 28 U.S.C. § 515

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
               v.                           )        CR. NO. 2:21-CR-49-MHT-JTA-1
                                            )
WILLIAM LEE HOLLADAY, III                   )

                               CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to all

counsel of record.

                                                     Respectfully submitted,

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